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 4                             UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )              Case No. 2:10-cr-00547-RLH-GWF
                                               )
 9   vs.                                       )              ORDER
                                               )
10   BJ GRIFFITH,                              )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          This matter is before the Court on the Ex Parte Motion to Appoint as CJA Counsel Nunc
14   Pro Tunc (#224) filed March 30, 2011. Upon review and consideration,
15          IT IS ORDERED that the Ex Parte Motion to Appoint as CJA Counsel Nunc Pro Tunc
16   (#224) is granted. Chris T. Rasmussen, Esq. is hereby appointed to represent BJ Griffith.
17          Dated this 31st day of March, 2011.
18                                                     Nunc Pro Tunc : November 19, 2010
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20                                                     ________________________________
                                                       GEORGE FOLEY, JR.
21                                                     United States Magistrate Judge
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